      Case 4:21-cv-00056-CDL-MSH Document 12 Filed 09/29/21 Page 1 of 1



                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF GEORGIA
                           COLUMBUS DIVISION

A.E.M.C.,                             *

      Petitioner,                     *

vs.                                   *
                                              CASE NO. 4:21-CV-56 (CDL)
Warden, STEWART DETENTION             *
CENTER, et al.,
                                      *
      Respondents.
                                      *

                                 O R D E R

      This matter is before the Court pursuant to a Report and

Recommendation by the United States Magistrate Judge entered on

June 2, 2021.      There was no objection to this Recommendation as

permitted by 28 U.S.C. § 636(b)(1).          Therefore, the Court reviews

the Recommendation for clear error.          Finding no clear error, the

Court adopts the Recommendation of the Magistrate Judge and makes

it the order of this Court.

      IT IS SO ORDERED, this 29th day of September, 2021.

                                          S/Clay D. Land
                                          CLAY D. LAND
                                          U.S. DISTRICT COURT JUDGE
                                          MIDDLE DISTRICT OF GEORGIA
